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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA                               FILED
                          BILLINGS DIVISION
                                                                               SEP f 1 2017
                                                                            Clef!<, U.S. District Court
                                                                               01stnct Of Montana
                                                                                     Billings
 UNITED STATES OF AMERICA,
                                                 CR 17-55-BLG-SPW-2
                      Plaintiff,

 vs.                                               ORDER

 JAIRO SEBASTIAN VELA-DIAZ,

                      Defendant.

       This cause having come before the Court on the Defendant's Unopposed

Motion for Extension of Time to file Motion to Continue (Doc. 34), and for good

cause shown,

       IT IS HEREBY ORDERED that the Defendant shall have up to and

including September 12, 2017, to file his Motion to Continue Trial in this matter.

       IT IS FURTHER ORDERED that Defendant's Unopposed Motion (Doc.

31) is DENIED as moot.

       DATED this   _£day of September, 2~rn.
                                             -~J~
                                             USANP. WATTERS
                                             United States District Judge




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